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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   CAMDEN VICINAGE

DENNIS MAURER, an Individual,              :
                                           :
               Plaintiff,                  :
                                           :
vs.                                        :
                                           : Case No.                 1:20-cv-02575
TURNERSVILLE CHICKEN, INC., a New Jersey :
Profit Corporation,                        :
                                           :
               Defendant.                  :
__________________________________________ :
                                          COMPLAINT

       Plaintiff, DENNIS MAURER, an Individual, on his behalf and on behalf of all other

mobility impaired individuals similarly situated hereby sues the Defendant, TURNERSVILLE

CHICKEN, INC., a New Jersey Profit Corporation, (hereinafter sometimes referred to as

"Defendant"), for injunctive relief, damages, attorney's fees, litigation expenses, and costs pursuant

to the Americans with Disabilities Act, 42 U.S.C. §12181 et seq. ("ADA") and the New Jersey Law

Against Discrimination, N.J.S.A. 10:5-12.

                                 COUNT I
                      VIOLATION OF TITLE III OF THE
            AMERICANS WITH DISABILITIES ACT, 42 U.S.C. § 12181, et seq.

       1.      Plaintiff, DENNIS MAURER, is an individual residing at 8 Prospect Avenue, Egg

Harbor Township, New Jersey 08234, in the County of Atlantic.
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        2.      Defendant, TURNERSVILLE CHICKEN, INC., owns or operates a place of public

accommodation located at the subject property alleged by the Plaintiff to be operating in violation of

Title III of the ADA.

        3.      Defendant's property, also known as Popeye’s Louisiana Kitchen Store #11418

("Popeye’s"), is located at 5381 Route 42, Turnersville, New Jersey 08012, in the County of

Gloucester.

        4.      Venue is properly located in the District of New Jersey because venue lies in the

judicial district of the property situs. The Defendant's property is located in and does business

within this judicial district.

        5.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §1343, this Court has been given

original jurisdiction over actions which arise from the Defendant's violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

        6.      Plaintiff, DENNIS MAURER, is a New Jersey resident, is sui juris, and qualifies as

an individual with disabilities as defined by the ADA. Plaintiff has multiple sclerosis, is mobility

impaired and requires the use of a wheelchair to ambulate at all times.

        7.      Mr. Maurer has visited the property that forms the basis of this lawsuit on several

occasions, with the last such visit occurring in February 2020. Mr. Maurer plans to return to the

subject property in the near future to avail himself of the goods and services offered to the public at

the property.

        8.      Mr. Maurer has encountered architectural barriers at the subject property.        The

barriers to access at the property have endangered his safety.

        9.      Defendant owns, leases, leases to, or operates a place of public accommodation as

defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.


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Defendant is responsible for complying with the obligations of the ADA. The place of public

accommodation that the Defendant owns, operates, leases or leases to is known as Popeye’s

Louisiana Kitchen Store #11418, and is located at 5381 Route 42, Turnersville, New Jersey 08012,

in the County of Gloucester.

          10.   Mr. Maurer has a realistic, credible, existing and continuing threat of discrimination

from the Defendant's non-compliance with the ADA with respect to this property as described but

not necessarily limited to the allegations in paragraph 13 of this complaint.

          11.   Plaintiff has reasonable grounds to believe that he will continue to be subjected to

discrimination in violation of the ADA by the Defendant. Plaintiff desires to visit Popeye’s

Louisiana Kitchen Store #11418, not only to avail himself of the goods and services available at the

property but to assure himself that the subject property is in full compliance with the ADA; so that

he and others similarly situated will have full and equal enjoyment of the property without fear of

discrimination.

          12.   The Defendant has discriminated against the individual Plaintiff and others similarly

situated by denying them access to, and full and equal enjoyment of, the goods, services, facilities,

privileges, advantages and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182

et seq.

          13.   The Defendant has discriminated, and is continuing to discriminate, against the

Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of $500,000

or less). A preliminary inspection of the Defendant's property, Popeye’s Louisiana Kitchen Store

#11418, has shown that violations of the ADA exist. The following are violations that DENNIS

MAURER has personally encountered during his visits to the subject property:


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Parking and Exterior Accessible Route
       a.      The parking spaces provided throughout the subject property are not maintained, lack

adequate access aisles and contain slopes greater than 2.0%; violating Sections 502 and 502.24 of

the 2010 Standards for Accessible Design. While attempting to unload from his van Mr. Maurer is

impeded by these barriers - on occasion he has parked away from the restaurant so that he may

freely and safely access the restaurant.

       b.      Curb ramps provided at Popeye’s are unsafe for Mr. Maurer (and all wheelchair

users) and are not provided at all in some areas. The curb ramps which are provided contain

excessive slopes, abrupt changes of level and lack level landings; violating Sections 402 and 406 of

the 2010 Standards for Accessible Design. Mr. Maurer dealt with a lack of maneuvering clearance

at the top of the curb ramp. These conditions endanger Mr. Maurer's safety.

       c.      The exterior accessible route which leads from parking spaces at Popeye’s fails to

provide a safe/accessible route; a violation of Section 402 of the 2010 Standards for Accessible

Design. Mr. Maurer is forced to travel through the traffic area of the parking lot in order to reach the

curb ramp.

       d.      Popeye’s fails to provide an accessible route to the adjacent street, sidewalk or bus

stop; violating Section 206.2.1 of the 2010 Standards for Accessible Design. The lack of an

accessible route to the sidewalk limits Mr. Maurer's options for transportation.



Access to Goods and Services
       e.      Popeye’s fails to provide compliant/accessible tables; violating Section 902 of the

2010 Standards for Accessible Design. The lack of accessible tables has affected Mr. Maurer’s

ability to dine in a comfortable manner.


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       f.      While attempting to enter Popeye’s, Mr. Maurer is impeded by abrupt changes of

level and sloping at the base of the door; violating Sections 402 and 404 of the 2010 Standards for

Accessible Design. Mr. Maurer cannot enter the restaurant freely and safely without assistance.

Restrooms
       g.      The restrooms at Popeye’s were reported to be unsafe for use by Mr. Maurer. Mr.

Maurer was unable to use the restrooms safely due to a lack of accessibility. Barriers to access

include, inaccessible water closets which lack proper controls, improper signage and a lack of

wheelchair maneuvering space; violating Section 601 of the 2010 Standards for Accessible Design.

       h.      Popeye’s provides restroom dispensers which are mounted beyond the reach of

wheelchair users and are inaccessible to Mr. Maurer; a violation of Section 308 of the 2010

Standards for Accessible Design.

       i.      Popeye’s provides restrooms that lack adequate maneuvering space, flush controls

which are mounted on the wall-side and may contain improper centerlines for the water closets;

violating Section 604 of the 2010 Standards for Accessible Design. Mr. Maurer is impeded in the

restroom by flush controls which are improperly mounted.

       j.      Mr. Maurer is impeded by the restroom doors at Popeye's; due to the lack of

maneuvering clearance he cannot enter/exit the restroom without assistance. This barrier is a

violation of Section 404 of the 2010 Standards for Accessible Design.


       14.     Each of the foregoing violations is also a violation of the 1991 American with

Disabilities Act Accessibility Guidelines (ADAAG) and the 2010 Standards for Accessible Design,

as promulgated by the U.S. Department of Justice.

       15.     The discriminatory violations described in paragraph 13 are not an exhaustive list of

the ADA violations that exist at Defendant's property but are the result of a preliminary inspection.

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Plaintiff requires thorough inspection of the Defendant's place of public accommodation in order to

photograph and measure the architectural barriers which exist at the subject property and violate the

ADA. The individual Plaintiff, and all other individuals similarly situated, have been denied access

to, and have been denied the benefits of services, programs and activities of the Defendant's

buildings and its facilities, and have otherwise been discriminated against and damaged by the

Defendant because of the Defendant's ADA violations, as set forth above. The individual Plaintiff

and all others similarly situated will continue to suffer such discrimination, injury and damage

without the immediate relief provided by the ADA as requested herein. In order to remedy this

discriminatory situation, the Plaintiff requires an inspection of the Defendant's place of public

accommodation in order to determine all of the areas of non-compliance with the ADA.

       16.     Defendant has discriminated against the Plaintiff by denying them access to full and

equal enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations of

its place of public accommodation or commercial facility in violation of 42 U.S.C. § 12181 et seq.

and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to discriminate against the

Plaintiff and all those similarly situated by failing to make reasonable modifications in policies,

practices or procedures, when such modifications are necessary to afford all offered goods, services,

facilities, privileges, advantages or accommodations to individuals with disabilities; and by failing to

take such efforts that may be necessary to ensure that no individual with a disability is excluded,

denied services, segregated or otherwise treated differently than other individuals because of the

absence of auxiliary aids and services.

       17.     Plaintiff is without adequate remedy at law and is suffering irreparable harm.

Considering the balance of hardships between the Plaintiff and the Defendant, a remedy in equity is

warranted. Furthermore, the public interest would not be disserved by a permanent injunction.


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       18.     Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR

36.505.

       19.     Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for its place of public accommodation that have

existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

alteration to Defendant's place of public accommodation since January 26, 1992, then the Defendant

is required to ensure – to the maximum extent feasible – that the altered portions of the facility are

readily accessible to and useable by individuals with disabilities, including individuals who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant's facility is one which was designed and

constructed for first occupancy subsequent to January 26, 1993, as defined in 28 CFR 36.401, then

the Defendant's facility must be readily accessible to and useable by individuals with disabilities as

defined by the ADA.

       20.     Notice to Defendant is not required as a result of the Defendant's failure to cure the

violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and

gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff or

waived by the Defendant.

       21.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

Injunctive Relief, including an order to require the Defendant to alter Popeye’s Louisiana Kitchen

Store #11418 and make the subject property readily accessible and useable to the Plaintiff and all

other persons with disabilities as defined by the ADA; or by closing the subject property until such

time as the Defendant cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:


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        a.      The Court issue a Declaratory Judgment that determines that the Defendant at the

    commencement of the subject lawsuit is in violation of Title III of the Americans with

    Disabilities Act, 42 U.S.C. § 12181 et seq.

        b.      Injunctive relief against the Defendant including an order to make all readily

    achievable alterations to the facility; or to make such facility readily accessible to and usable by

    individuals with disabilities to the extent required by the ADA; and to require the Defendant to

    make reasonable modifications in policies, practices or procedures, when such modifications are

    necessary to afford all offered goods, services, facilities, privileges, advantages or

    accommodations to individuals with disabilities; and by failing to take such steps that may be

    necessary to ensure that no individual with a disability is excluded, denied services, segregated

    or otherwise treated differently than other individuals because of the absence of auxiliary aids

    and services.

        c.      An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C.

    § 12205.

        d.      Such other relief as the Court deems just and proper, and/or is allowable under

    Title III of the Americans with Disabilities Act.

                                   COUNT II
             VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION
                                (N.J.S.A. 10:5-12)

       22.      Plaintiff re-alleges and incorporates by reference all allegations set forth in this

Complaint as fully set forth herein.

       23.      Defendant's facility is a place of public accommodation as defined by N.J.S.A 10:5-5,

(New Jersey Law Against Discrimination).

       24.      New Jersey law provides that all persons shall have the opportunity to obtain all the


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accommodations, advantages, facilities, and privileges of any public place of accommodation

without discrimination on the basis of disability. This opportunity is recognized and declared to be a

civil right (N.J.S.A. 10:5-4.)

       25.     As set forth above, Defendant has violated the New Jersey Law Against

Discrimination by denying disabled individuals the full and equal enjoyment of the goods, facilities,

services and accommodations available at the subject property.

       26.     As a result of the aforementioned discrimination, Plaintiff DENNIS MAURER has

sustained emotional distress, mental anguish, suffering and humiliation, and other injuries, in

violation of the New Jersey Law Against Discrimination.

WHEREFORE, Plaintiff, DENNIS MAURER respectfully demands judgment for damages,

attorney's fees, litigation expenses, including expert fees and costs pursuant to the New Jersey Law

Against Discrimination.



Respectfully submitted,


      March 10, 2020
Date: _____________________                     /s/ Jon G. Shadinger Jr.
                                               __________________________
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